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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

MARVIN WILLIAMS and SHIRLEY
WILLIAMS,

Plaintiffs,
vs.
AVON PRODUCTS, INC., et al.,

Defendants.

COP 6G? 6GR 60D 6G? COD 4On Hon 6? 4OD

Civil Action No.: 4:19-cv-02337

NOTICE OF DISMISSAL WITHOUT PREJUDICE

Plaintiffs Marvin Williams and Shirley Williams, in the above numbered and styled case,

by and through their attorney of record, file this Notice of Dismissal Without Prejudice, as to

Defendants Randall’s Food & Drugs LP and Randall’s Food Markets, Inc. All claims as to all

other Defendants shall remain in effect and proceed forward. Each party will bear its own fees

and costs.

  

 

Respectfully Submitted,
SIMON GREENSTONE P (ATIER, PC
By: == —

~ STEVEN SCOTT SCHULTE

State Bar No. 24051306
1201 Elm Street, Suite 3400
Dallas, Texas 75270
214-276-7680 Telephone
214-276-7699 Facsimile
sschulte@sgptrial.com

ATTORNEYS FOR PLAINTIFFS
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CERTIFICATE OF SERVICE

I hereby certify that on this \A day of January 2020, a true and correct copy of the
above and foregoing instrument was filed electronically. Notice of this filing will be sent to all
parties by operation of the Court’s electronic filing system.

SS
~ STEVEN SCOTT SCHULTE
